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                                                                                                               1 D. CHRIS ALBRIGHT, ESQ., #004904
                                                                                                                 WILLIAM H. STODDARD, JR., ESQ., #008679
                                                                                                               2 ALBRIGHT, STODDARD, WARNICK & ALBRIGHT
                                                                                                                 801 South Rancho Drive, Suite D4
                                                                                                               3 Las Vegas, Nevada 89106
                                                                                                                 Tel: (702) 384-7111
                                                                                                               4 Fax: (702) 384-0605
                                                                                                                 dca@albrightstoddard.com
                                                                                                                 bstoddard@albrightstoddard.com
                                                                                                               5 Attorneys for Plaintiff/Counterdefendant

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                                                                                                                                                                    UNITED STATES DISTRICT COURT
                                                                                                               7
                                                                                                                                                                        DISTRICT OF NEVADA
                                                                                                               8

                                                                                                               9    SERAPH CONSULTING, INC., a Nevada                               CASE NO.:      2:19-cv-02201-RFB-NJK
                                                                                                                    corporation,
                                                                                                              10
                                                                                                                                                         Plaintiff,
                                                                                                                    v.
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




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                                                                                                              12    SMP DEUTSCHLAND GmbH, a Germany
                                                                                                                    business entity; and SMP AUTOMOTIVE
                                                                                                              13    SYSTEMS ALABAMA, INC., a Delaware
                                                       A PROFESSIONAL CORPORATION




                                                                                                                    corporation,                                                     STIPULATION AND ORDER TO
                                                          LAS VEGAS, NEVADA 89106

                                                                                    LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE
                                                            QUAIL PARK, SUITE D-4




                                                                                                                                                                                     DISMISS WITHOUT PREJUDICE
LAW OFFICES




                                                                                                              14
                                                                                                                                                         Defendants.
                                                                                                              15    SMP DEUTSCHLAND GmbH, a Germany
                                                                                                                    business entity, and SMP AUTOMOTIVE
                                                                                                              16    SYSTEMS ALABAMA, INC., a Delaware
                                                                                                                    corporation,
                                                                                                              17
                                                                                                                                                         Counterclaimants,
                                                                                                              18    v.

                                                                                                              19    SERAPH CONSULTING, INC., a Nevada
                                                                                                                    corporation,
                                                                                                              20
                                                                                                                                                         Counterdefendant.
                                                                                                              21               IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel of
                                                                                                              22 record for SERAPH CONSULTING, INC., a Nevada corporation (“Plaintiff”); and the undersigned

                                                                                                              23 counsel of record for Defendants/Counterclaimants, SMP DEUTSCHLAND GmbH, and SMP

                                                                                                              24 AUTOMOTIVE SYSTEMS ALABAMA, INC. (“Defendants”), as follows:

                                                                                                              25               1.          The Plaintiff’s claims against Defendants, and the Defendants’ Counterclaims

                                                                                                              26                           against the Plaintiff, shall be and the same are hereby dismissed, without prejudice.

                                                                                                              27               2.          Neither party shall be entitled to any award of costs or fees to be entered in this Case

                                                                                                              28                           No. 2:19-cv-02201-RFB-NJK as a result of this dismissal; but the prevailing party
                                                                                                                   C:\NRPortbl\Detroit\KATHERINED\16714157_2.docx
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                                                                                                               1               in any future suit shall not be prevented by this Stipulation and Order, from seeking,

                                                                                                               2               as part of any award of costs or fees awarded at the conclusion of that future suit, its

                                                                                                               3               costs and fees incurred in this Case, on any grounds which exist to pursue the same.

                                                                                                               4         3.    Both parties and their counsel agree to participate in the mediation currently

                                                                                                               5               scheduled for June 15, 2020, or such other date to which the parties agree, with

                                                                                                               6               JAMS, mediator Phillip M. Pro, notwithstanding the dismissal of this suit, by and
                                                                                                                               through the attendance of their principals or others with full settlement authority,
                                                                                                               7
                                                                                                                               together with counsel.
                                                                                                               8
                                                                                                                         4.    All statutes of limitations and repose governing Plaintiff’s claims in this action and
                                                                                                               9
                                                                                                                               any defenses thereto are hereby tolled, nunc pro tunc as of the date this suit was filed,
                                                                                                              10
                                                                                                                               namely December 20, 2019; and all statutes of limitations and repose governing
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                                              11
                                                                                                                               Defendants’ Counterclaims in this action and any defenses thereto are hereby tolled,
                                                                                                              12
                                                                                                                               nunc pro tunc as of the date Defendants’ Counterclaims were filed, namely January
                                                       A PROFESSIONAL CORPORATION




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                                                          LAS VEGAS, NEVADA 89106

                                                                                    LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE
                                                            QUAIL PARK, SUITE D-4




                                                                                                                               14, 2020. Such tolling shall expire on the sooner of (a) ten (10) days after
LAW OFFICES




                                                                                                              14
                                                                                                                               unsuccessful conclusion of the mediation described above, or (b) 120 days from the
                                                                                                              15
                                                                                                                               date of the Court’s order on this stipulation. The parties may extend the tolling period
                                                                                                              16
                                                                                                                               by written agreement, signed by representatives of both parties. None of the time or
                                                                                                              17
                                                                                                                               days during the tolling period, including any extensions, shall count toward any
                                                                                                              18               statutes of limitations or repose (or other time bar defenses) applicable to
                                                                                                              19               (a) Plaintiff’s claims in this action or any defenses thereto or (b) Defendants’
                                                                                                              20               counterclaims in this action or any defenses thereto.
                                                                                                              21         5.    During the tolling period, Plaintiff shall not institute any suit or other proceeding
                                                                                                              22               against either or both Defendants involving substantially the same claims asserted in
                                                                                                              23               this action; and neither Defendant shall institute any suit or proceeding against
                                                                                                              24               Plaintiff involving substantially the same claims asserted in their counterclaim in this

                                                                                                              25               action.

                                                                                                              26         6.    The undersigned current counsel for the Defendants shall accept service on behalf of

                                                                                                              27               the Defendants named herein of any new suit filed by the Plaintiff involving

                                                                                                              28               substantially the same claims asserted in this action


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                                                                                                               1         7.    Both parties waive their right, pursuant to FRCP 41(d), to seek the costs incurred in

                                                                                                               2               this suit (Case No. 2:19-cv-02201-RFB-NJK), as a prerequisite to maintaining any

                                                                                                               3               subsequent new suit filed by either party hereafter, but such costs may only be

                                                                                                               4               pursued by the prevailing party in any such subsequent suit, upon the final

                                                                                                               5               adjudication thereof, and solely if and to the extent of any authority existing for such

                                                                                                               6               an award, if any, at that time, exclusive of FRCP 41(d).
                                                                                                                         8.    Both parties waive the right to hereafter aver that this present suit (Case No. 2:19-
                                                                                                               7
                                                                                                                               cv-02201-RFB-NJK) including either the claims or the counterclaims asserted
                                                                                                               8
                                                                                                                               herein, shall be treated as having been voluntarily dismissed, for purposes of the two
                                                                                                               9
                                                                                                                               dismissal rule of FRCP 41(a)(1)(B), or any other similar rule of civil procedure
                                                                                                              10
                                                                                                                               which might apply to any future suits brought hereafter, and both parties stipulate
              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




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                                                                                                                               that this dismissal shall not count as one dismissal for purposes of any such two-
                                                                                                              12
                                                                                                                               dismissal rule.
                                                       A PROFESSIONAL CORPORATION




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                                                          LAS VEGAS, NEVADA 89106

                                                                                    LAS VEGAS, NEVADA 89106
                                                          801 SOUTH RANCHO DRIVE
                                                            QUAIL PARK, SUITE D-4
LAW OFFICES




                                                                                                              14 DATED this 30th day of April, 2020.                      DATED this 30th day of April, 2020.

                                                                                                              15 ALBRIGHT, STODDARD, WARNICK
                                                                                                                    & ALBRIGHT                                            BODMAN PLC
                                                                                                              16
                                                                                                                 /s/ D. Chris Albright                                    /s/ Jeffrey G. Raphelson
                                                                                                              17 D. CHRIS ALBRIGHT, ESQ.                                  JEFFREY G. RAPHELSON, ESQ. (Pro hac vice)
                                                                                                                 Nevada Bar No. 004904                                    ERICA J. SHELL, ESQ. (Pro hac vice)
                                                                                                              18 WILLIAM H. STODDARD, JR., ESQ.                           6th Floor at Ford Field
                                                                                                                 Nevada Bar No. 008679                                    1901 St. Antoine Street
                                                                                                              19 801 South Rancho Drive, Suite D4                         Detroit, Michigan 48226
                                                                                                                 Las Vegas, Nevada 89106                                  Tel: 313.259.7777 / Fax: 313.393.7579
                                                                                                              20 Tel: 702.384.7111 / Fax: 702.384.0605                    jraphelson@bodmanlaw.com
                                                                                                                 dca@albrightstoddard.com                                 eshell@bodmanlaw.com
                                                                                                              21 bstoddard@albrightstoddard.com                           Attorneys for Defendants/Counterclaimants
                                                                                                                 Attorneys for Plaintiff/Counterdefendant
                                                                                                              22                                                          JAMES J. PISANELLI, ESQ., #4027
                                                                                                                                                                          DEBRA L. SPINELLI, ESQ., #9695
                                                                                                              23   IT IS SO ORDERED:                                      DUSTUN H. HOLMES, ESQ., #12776
                                                                                                                                                                          PISANELLI BICE PLLC
                                                                                                              24                                                          400 South 7th Street, Suite 300
                                                                                                                                                                          Las Vegas, Nevada 89101
                                                                                                              25                                                          Tel: 702.214.2100 / Fax: 702.214.2101
                                                                                                                 ________________________________                         jjp@pisanellibice.com
                                                                                                              26                                                          dls@pisanellibice.com
                                                                                                                 RICHARD F. BOULWARE, II
                                                                                                                                                                          dhh@pisanellibice.com
                                                                                                              27 UNITED STATES DISTRICT JUDGE

                                                                                                              28   DATED this 5th day of May, 2020.

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                                                                                                               1                                         ORDER
                                                                                                               2         IT IS SO ORDERED this ____ day of ___________, 2020.
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                                                                                                                                                         UNITED STATES DISTRICT COURT JUDGE
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              ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




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                                                       A PROFESSIONAL CORPORATION




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                                                          LAS VEGAS, NEVADA 89106

                                                                                    LAS VEGAS, NEVADA 89106
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